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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                11/27/2018 01:30 PM
                                                                COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                    FILING DATE:
6:18-bk-02644-KSJ                        7                         05/04/2018
Chapter 7
DEBTOR:                Carl Morelli


DEBTOR ATTY:           Justin Infurna
TRUSTEE:               Marie E. Henkel
HEARING:
Motion by MTGLQ Investors for Relief from Stay re: 9 ORCHARD
STREET, MADISON, NJ 07940 (Doc #38)
Note: Discharged 8/14/18
Prior Cases:
14-09683, Chapter 13 filed in Florida Middle Bankruptcy Court on
08/25/2014 , Dismissed for Other Reason on 02/19/2015;
15-34094, Chapter 13 filed in New Jersey Bankruptcy Court Njbk
on 12/30/2015 , Dismissed for Failure to File Information on
03/21/2016;
15-19929, Chapter 13 filed in New Jersey Bankruptcy Court Njbk
on 05/28/2015 , Dismissed for Failure to File Information on
09/23/2015.

APPEARANCES::
None.

RULING:
Motion by MTGLQ Investors for Relief from Stay re: 9 ORCHARD STREET, MADISON, NJ 07940 (Doc #38) - Granted: Order
signed in court.

 (Pro by LL)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-02644-KSJ                     Chapter 7
